Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 1 of 32 PageID: 933




 Jason B. Lattimore, Esq.
 The Law Office of
 JASON B. LATTIMORE, ESQ. LLC
 55 Madison Avenue
 Suite 400
 Morristown, NJ 07960
 (973) 998-7477
 Jason@LattimoreLaw.com
 Jason@LattimoreLaw.corn

 OF COUNSEL:

 Timothy R. Shannon, Esq. (pro hac vice)
 Seth S. Coburn, Esq. (pro hac vice)
 VERILL DANA LLP
 One Portland Square
 Portland, ME 04101-4054
 (207) 774-4000
 tshannon@verrill-law.com
 tshannon@verrill-law. corn
 scoburn@verrill-law.com

           for Plaintiff
 Attorneysfor  Plaintiff

                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 WANGS ALLIANCE CORPORATION
 d/b/a WAC LIGHTING CO.,

              Plaintiff,
                                           Case No: 2:20-cv-3710-MCA-MAH
              v.

 CAST LIGHTING LLC,

              Defendant.


                                    CORPORATION’S
                    WANGS ALLIANCE CORPORATION'S
                   OPENING CLAIM CONSTRUCTION BRIEF
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 2 of 32 PageID: 934




                                                Table of Contents
 I.   INTRODUCTION ...............................................................................................5
 II. LEGAL STANDARDS .......................................................................................6
 III. CLAIM CONSTRUCTION OF THE ‘101
                                '101 PATENT .........................................8
            “driver housing"
         A. "driver housing” .........................................................................................8
            “sealing between the dimming control and the driver housing"
         B. "sealing                                            housing” ..............16
                                                                                       16
            “provides a water tight seal"
         C. "provides               seal”.....................................................................20
                                                                                                              20
            “insulating layer of insulating material"
         D. "insulating                     material” ..................................................20
                                                                                                        20
            “connected” ..............................................................................................26
         E. "connected"                                                                                               26
            “covers” ....................................................................................................31
         F. "covers"                                                                                                     31




                                                            2
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 3 of 32 PageID: 935




                                              Table of Authorities

 Abbott Labs. v. Sandoz, Inc., 544 F.3d 1341 (Fed. Cir. 2008) ..................................7

 AK Steel Corp. v. Sollac & Ugine, 344 F.3d 1234 (Fed. Cir. 2003) .......................10
                                                                                         10

 Alcon Research, Ltd. v. Apotex Inc., 687 F.3d 1362 (Fed. Cir. 2012).......................9

 Bayer AG v. Biovail Corp., 279 F.3d 1340 (Fed. Cir. 2002) ...................................24
                                                                                              24

     of Regents of
 Bd. of         of the Univ. of
                             of Tex. Sys. v. BENQ Am. Corp.,
 533 F.3d 1362, (Fed.Cir.2008).......................................................................... 27, 28

 Cablestrand Corp. v. Wallshein,
                      Wallshein, 29 F.3d 644 (Fed. Cir. 1994) ..............................27
                                                                                            27

 Curtiss-Wright Flow Control Corp. v. Velan, Inc.,
                          2006)................................................................................10
 438 F.3d 1374 (Fed. Cir. 2006)                                                                                10

 Gillette Co. v. Energizer Holdings, Inc., 405 F.3d 1367 (Fed. Cir. 2005) ................9

 Innova/Pure Water,
             Water, Inc. v. Safari Water
                                    Water Filtration Sys.,
                          2004)................................................................................24
 381 F.3d 1111 (Fed. Cir. 2004)                                                                                24

 Intamin Ltd. v. Magnetar Techs., Corp., 483 F.3d 1328 (Fed. Cir. 2007) ....... 10, 26

 Liquid Dynamics Corp. v. Vaughan
                          Vaughan Co., Inc., 355 F.3d 1361 (Fed. Cir. 2004) .......6

 Markman v. Westview
            Westview Instruments, Inc., 52 F.3d 967 (Fed. Cir. 1995) aff'd,                          aff’d, 517
  U.S. 370 (1996) ......................................................................................................6

 O2
 02 Micro Int'l.
           Int’l. Ltd. v. Beyond Innovation Tech. Co., Ltd.,
 521 F.3d 1351 (Fed. Cir. 2008)
                            2008)............................................................................7,
                                                                                                             7, 15

 Phillips v. AWH
             AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) ................................. passim

              Int’l, Inc. v. DEG Music Prods, Inc.,
 Randall May Int'l,
        App’x 989 (Fed. Cir. 2010) ................................................................... 27, 29
 378 F. App'x

 Sport Dimension, Inc. v. Coleman Co., 820 F.3d 1316 (Fed. Cir. 2016) ................17
                                                                                      17


                                                            3
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 4 of 32 PageID: 936




 SimpleAir, Inc. v. Sony Ericsson Mobile Commc’ns
                                               Commc'ns AB,
 820 F.3d 419 (Fed. Cir. 2016)..................................................................................25
                                                                                                                25

 Wilson
 Wilson Sporting Goods Co. v. Hillerich & Bradsby Co.,
                          2006)................................................................................14
 442 F.3d 1322 (Fed. Cir. 2006)                                                                                14

                                                      Statutes

 35 U.S.C. § 112(d) ............................................................................................ 10, 26




                                                           4
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 5 of 32 PageID: 937




       Pursuant to L. Pat. R. 4.5 and the Court’s
                                          Court's Scheduling Order (ECF 17, ¶15),

 Plaintiff Wangs Alliance Corporation d/b/a WAC Lighting ("WAC")
                                                         (“WAC”) submits its

 opening claim construction brief.

 I.    INTRODUCTION

       The ‘101
           '101 patent is generally directed to user-adjustable, waterproof exterior
                                     1
 light fixtures. Ex. 1 ("`101
                       (“‘101 Patent”
                              Patent') ) at 1:27-55 ("Background").
                                                    (“Background”). In general terms,

 exterior fixtures may be deployed in a range of outdoor settings and serve a range

 of needs and applications —
                           – e.g., wider or narrower beam angles, aimed in different

 directions, at different light intensities, etc. Id. at 1:28-32. Furthermore, exterior

 fixtures are subject to exposure to the elements, including water, dirt, heat/cold,

 and corrosion. Id. at 1:40-44.

       Historically, outdoor lights were adjusted in the field by an installer partially

 disassembling the fixture during installation and adjusting the necessary

 components, creating an opportunity for contaminants to be introduced into the

 fixture and otherwise compromising the integrity of the fixture. Id.

       The ‘101
           '101 Patent describes a novel set of watertight, user-adjustable LED

 lights employing on-board dimming controls that obviate the need for an installer




 11 U.S. Patent 10,571,101. All exhibits are attached to the Declaration of Timothy
  R. Shannon in Support of Wang's
                            Wang’s Alliance Corporation's
                                              Corporation’s Opening Claim
  Construction Brief ("Shannon
                     (“Shannon Decl.").
                                Decl.”).

                                            5
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 6 of 32 PageID: 938




 and disassembly, all while withstanding outdoor conditions. Id. at 1:59-2:11. In

 particular, the ‘101
                 '101 Patent claims particular configurations of components that

 resolve many of the problems associated with prior art fixtures. The claimed

 fixture includes a housing, an onboard dimming control, a light-emitting diode

 (“LED”), a driver (a circuit that powers the LED), water seals and an internal
 ("LED"),

 insulating layer that, collectively, protect all of the components from the elements

 and allow the user to adjust the output of the fixture (i.e., make it dimmer or

 brighter) as well as other parameters (e.g., direction of the light) in the field

 without endangering the fixture’s
                         fixture's integrity.

       The ‘101
           '101 Patent, in short, reflects a clever set of solutions to existing

 operational and environmental challenges; the Court’s
                                               Court's claim constructions should

 reflect the full scope of those inventions. WAC's
                                             WAC’s proposed constructions do that,

 hewing closely to the claim language while preserving the claims’
                                                           claims' full scope.

 CAST’s proposed constructions, by comparison, artificially narrow the claims,
 CAST's

 import limitations from the specification, attempt to refer claim construction

 questions to the jury, and (in one case) erase the distinction between terms. The

 Court should preserve the patent's
                           patent’s full scope.

 II.   LEGAL STANDARDS

       Claim construction is a matter of law determined by the Court. Markman v.

 Westview
 Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc), aff'd,
                                                                          aff’d, 517


                                             6
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 7 of 32 PageID: 939




 U.S. 370 (1996). Claim construction begins with the language of the claim and

      “how a person of ordinary skill in the art understands a claim term."
 asks "how                                                           term.” Phillips

 v. AWH
    AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en Banc).
                                                        banc). "[I]n
                                                               “[I]n interpreting

 an asserted claim, the court should look first to the intrinsic evidence of record, i.e.,

 the patent itself, including the claims, the specification and, if in evidence, the

 prosecution history. Such intrinsic evidence is the most significant source of the

 legally operative meaning of disputed claim language.”
                                             language." Liquid Dynamics Corp. v.

 Vaughan
 Vaughan Co., Inc., 355 F.3d 1361, 1367 (Fed. Cir. 2004). Intrinsic evidence is

                                “the person of ordinary skill in the art is deemed to
 particularly important because "the

 read the claim term not only in the context of the particular claim in which the

 disputed term appears, but in the context of the entire patent, including the

 specification.” Phillips, 415 F.3d at 1313.
 specification."

       In addition to intrinsic evidence, a court may rely on extrinsic evidence, such

 as dictionaries or expert testimony, as a less important source of evidence to

 provide background on the technology at issue, to explain how an invention works,

 or to explain the meaning of a common term as it would have been understood by a

 person of ordinary skill in the art at the time of the invention. See Phillips, 415

 F.3d at 1317-18.

       The purpose of claim construction is to “determine
                                               "determine the meaning and scope

 of the patent claims asserted to be infringed.”
                                     infringed." O2       Int’l. Ltd. v. Beyond
                                                 02 Micro Int'l.


                                            7
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 8 of 32 PageID: 940




 Innovation Tech. Co., Ltd., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (quoting

 Markman, 52 F.3d at 976); see also Abbott Labs. v. Sandoz, Inc., 544 F.3d 1341,

 1360 (Fed. Cir. 2008) ("claims
                       (“claims are construed as an aid to the decision-maker, by

 restating the claims in non-technical terms").
                                       terms”). "When
                                                “When the parties present a

 fundamental dispute regarding the scope of a claim term, it is the court’s
                                                                    court's duty to

         it.” O2
 resolve it." 02 Micro, 521 F.3d at 1362.

 III.     CLAIM CONSTRUCTION OF THE ‘101
                                    '101 PATENT

          A.    “driver housing”
                "driver housing"

     WAC’s Proposed Construction
     WAC's                                       CAST’s Proposed Construction
                                                 CAST's
     an enclosure that contains the LED          an enclosure that contains the LED
     driver assembly and may include an          driver assembly
     enclosure cap

              parties’ dispute with respect to the term "driver
          The parties'                                  “driver housing"
                                                                housing” is whether the

 driver housing may include an enclosure cap (WAC's
                                             (WAC’s position) or not (CAST's
                                                                     (CAST’s

 position).2 The parties agree that a "driver
 position).2                          “driver housing"
                                              housing” means "an
                                                             “an enclosure that

 contains an LED driver assembly”
                        assembly" but CAST nonetheless quietly seeks to narrow

 the claims to encompass only enclosures without caps. This is not a rhetorical

 disagreement. It is a fundamental dispute over a claim construction rooted in



 2
 2                                                        “enclosure cap”
   For the sake of brevity WAC has proposed the phrase "enclosure    cap" in its
 proposed construction instead of longer phrase, "a
                                                  “a driver housing enclosure cap,”
                                                                               cap,"
 used elsewhere in the claims. WAC believes the shorter phrase is more palatable
 to a fact finder, but WAC is generally agnostic as to whether the construction of
 this term should include the longer phrase "a
                                            “a driver housing enclosure cap.”
                                                                         cap."

                                             8
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 9 of 32 PageID: 941




 CAST’s non-infringement position. While CAST's
 CAST's                                  CAST’s proposed construction does

 not address the dispute —
                         – presumably to preserve it for the jury —
                                                                  – it must be, as a

 matter of law, resolved by the Court at the Markman stage. The intrinsic record

                        “driver housing"
 dictates that the term "driver housing” be given its full scope, encompassing

 enclosures both with and without caps.

       We begin with the claim language. ‘101
                                         '101 Patent at 50:15-52:43; Phillips, 415

 F.3d at 1314. The two-word phrase, "driver
                                    “driver housing,"
                                            housing,” conveys the notion that the

 housing must be capable of hosting a driver (described later in the claim as a LED

 driver assembly), id. at 50:19, but neither word limits the housing's
                                                             housing’s physical

 configuration. Neither word, for example, indicates that the housing must be made

 of a single, unbroken piece of material. By way of analogy: a residential home

 may be made up of various walls, windows, doors, roof sections, etc. yet constitute

          “housing;” a cage with a door is a "housing"
 a single "housing;"                         “housing” for a canary; a two-piece

 hinged case "houses"
             “houses” eyeglasses. The word, "housing,"
                                            “housing,” is not restricted. Nor do

 the other features recited in independent claims 1 and 11 address the presence,

                                         cap.33
 absence, or possibility of an enclosure cap.

       Claim 18, however, does address an enclosure cap. Claim 18 - which



 3
 3 The housing must simply have an upper portion, id. at 50:34, a lower portion, id.
 at 50:40, an opening for the dimmer control shaft, id. at 50:19, 50:29. None of
 these conditions require or prohibit an enclosure cap.


                                            9
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 10 of 32 PageID: 942




 depends from claim 1 - states:

              The LED lighting device of claim 1, wherein said driver
              housing further includes a driver housing enclosure cap
              attached to the lower portion of the driver housing, said
              driver housing enclosure cap being a detachable bottom
                   of said driver housing.
              wall of

 Id. at 52:27-31 (emphasis added). That is, claim 18 covers an LED lighting device

 as set forth in claim 1 that affirmatively does include an enclosure cap, one that is

 deemed a detachable bottom wall of the driver housing of Claim 1 ("said
                                                                  (“said driver

 housing”). Id. (emphasis added).
 housing").

       This is powerful —
                        – indeed, dispositive —
                                              – evidence that the term "driver
                                                                       “driver

 housing,” as it appears in the independent claims, must include the broader scope
 housing,"

 (with or without a cap) to encompass the narrower scope in the dependent claim 18

 (requiring an enclosure cap which is explicitly part of the "driver
                                                             “driver housing").
                                                                     housing”). See

 generally Phillips, 415 F.3d at 1314 (other claims can be a "valuable
                                                             “valuable sources of

 enlightenment as to the meaning of a claim term.");
                                            term.”); Gillette Co. v. Energizer

 Holdings, Inc., 405 F.3d 1367, 1373 (Fed. Cir. 2005) (looking to dependent claim

 to construe terms in independent claim). It is axiomatic that an independent claim

 must be broad enough to cover the scope of all the claims dependent on it. Alton
                                                                            Alcon

 Research, Ltd. v. Apotex Inc., 687 F.3d 1362, 1367 (Fed. Cir. 2012) ("if
                                                                     (“if claim 2

 covers the range from 0.0001% w/v-5%
                               w/v–5% w/v, claim 1 must cover at least that

 range.”); Intamin Ltd. v. Magnetar Techs., Corp., 483 F.3d 1328, 1335 (Fed. Cir.
 range.");


                                           10
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 11 of 32 PageID: 943




       (“An independent claim impliedly embraces more subject matter than its
 2007) ("An

 narrower dependent claim.”);
                    claim."); AK Steel Corp. v. Sollac & Ugine, 344 F.3d 1234,

 1242 (Fed. Cir. 2003) (similar); 35 U.S.C. § 112(d) ("a
                                                     (“a claim in dependent form

 shall contain a reference to a claim previously set forth and then specify a further

 limitation of the subject matter claimed”).
                                  claimed").

       Simply put, the limitation in dependent claim 18 is presumptively subsumed

 within the scope of the preceding independent claim. See id. Claim 1, on which

 claim 18 depends, must be broad enough to include driver housings both with and

 without an enclosure cap. See id. Put differently, if the term "driver
                                                                “driver housing"
                                                                        housing”

 prohibited or categorically could not include an enclosure cap, claim 18 would be a

 nullity. Such an outcome would be wrong as a matter of law. See id.; Curtiss-

 Wright
 Wright Flow Control Corp. v. Velan,
                              Velan, Inc., 438 F.3d 1374, 1380 (Fed. Cir. 2006).

 This alone should be sufficient for the Court to adopt WAC's
                                                        WAC’s construction.

       The specification offers more evidence that the driver housing may include

 an enclosure cap. The specification discloses different configurations of a driver

 housing (item 540) and the enclosure cap (item 560) with a threaded shaft (item

 561) extending from the bottom of the enclosure cap. ‘101
                                                      '101 Patent at 19:23-39.

 25:32-37; Fig. 6B. In one embodiment, the threaded shaft of the enclosure cap

 (and therefore the enclosure cap as well) are described as part of the driver housing

                                                                    “electrical driver
 itself. In referring to Figure 1, the specification notes that the "electrical


                                            11
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 12 of 32 PageID: 944




 enclosure 540 is water tight and protects the components housed in the enclosure

 540 from both dirt and water."
                        water.” Id. at 5:66-6:1. In describing the lower portion of

 enclosure 540, the specification states that

                 locking nut 564 can be used to secure the fixture to an
                 electrical box after the threaded portion
                                                   portion of
                                                           of the enclosure
                 540 is extended through a hole in the electrical box being
                 used to mount the light fixture 100."
                                                 100.”

 Id. at 6:1-6 (emphasis added). Figure 1 (excerpted and annotated below) illustrates

 the point:



                                                            F1GLRE I
        external lip of
        the enclosure



                                                               564


                                                                threaded portion
 Because in this embodiment the "threaded
                                “threaded portion"
                                          portion” (a portion of the enclosure cap)

 is explicitly part of the driver housing ("enclosure
                                          (“enclosure 540"),
                                                      540”), so is the entire enclosure

 cap.

          Another embodiment depicted in Figure 18 (excerpted and annotated below,

 showing the cross section of the drive housing 540) also shows the enclosure cap

 as part of the assembled driver housing 540.

                                            12
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 13 of 32 PageID: 945




                                                                  enclosure
                                                                  cap




                                                              threaded
                                                              portion

       The specification elsewhere similarly describes the diver housing as

 including the enclosure cap. Figure 36, diagram 3602 (excerpted and annotated

        “illustrates a cross sectional view of the driver housing 540 when it is
 below) "illustrates

 assembled with the enclosure cap screwed on and it is housing the LED driver and

 other components.”
       components." Id. at 26:11-14.

                    3602




                                                   558 (gasket)



                                                 560 (enclosure cap)



                                                562 (enclosure cap screws)


 Id. at Fig. 36 (annotations added). The fact that the enclosure cap is a discrete,


                                           13
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 14 of 32 PageID: 946




 separately numbered, component does not change the analysis. The specification

 describes the driver housing as including more than one discrete component. Id. at

          (“assembled” driver housing includes enclosure cap). Separate
 26:11-14 ("assembled"

 numbering similarly does not necessarily mean that discreet components are not

                  whole.4
 part of a bigger whole.4

       In sum, the specification reinforces what the claims require: that the "driver
                                                                              “driver

 housing” may be a multi-component enclosure that includes an enclosure cap.
 housing"

 Claim 1 addresses both configurations (housings with and without caps) while

 claim 18 is directed to a housing that must include a cap.

       CAST’s argument to the contrary fails and invites error. Not only does
       CAST's

 CAST fail to account for the full scope of the term, claim 18, and the above

 disclosures in the specification, it leaves unresolved a fundamental interpretive

 question (presumably in the hope of handing the dispute to the jury).

       Specifically, in response to WAC's
                                    WAC’s contention identifying the enclosure cap

 of CAST's
    CAST’s accused product as a "wall
                                “wall of the driver housing,"
                                                    housing,”




 4
 4To illustrate the point, Figure 6B separately numbers two portions of the driver
 housing: the upper portion (540B) and the base portion (540A). See id. Fig. 6B,
 20:62-64. While these portions are separately numbered, both are indisputably part
 of the claimed "driver
                 “driver housing."
                         housing.” See id.

                                          14
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 15 of 32 PageID: 947




             55



                                                6
                                                6 Id. Thus, CAST’s
                                                            CAST's non-

 infringement argument raises a claim construction dispute: a disagreement over

 whether the scope of the term "driver
                               “driver housing"
                                       housing” categorically excludes an

 “enclosure cap.”
 "enclosure cap." Rather than acknowledging the issue in its proposed

 construction, however, CAST apparently hopes to leave this question of claim

 scope to the jury.

       That would be improper. A dispute over the scope of a claim term is a

 question of law for the Court, to be resolved during claim construction. O2
                                                                          02 Micro,

 521 F.3d at 1362 ("When
                  (“When the parties present a fundamental dispute regarding the




 55 CAST's
    CAST’s non-infringement contentions are addressed only for context and to
  explain the need for construction. See Wilson
                                           Wilson Sporting Goods Co. v. Hillerich &
 Bradsby Co., 442 F.3d 1322, 1326-27 (Fed. Cir. 2006) ("While
                                                           (“While a trial court should
  certainly not prejudge the ultimate infringement analysis by construing claims with
 an aim to include or exclude an accused product or process, knowledge of that
 product or process provides meaningful context for …  ... claim construction.”).
                                                                 construction."). We
 will address their substantive wrongness elsewhere.
 6
 6




                                          15
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 16 of 32 PageID: 948




 scope of a claim term, it is the court’s                 it.”). Where, as here, there is
                                  court's duty to resolve it.").

 a dispute over the scope of a claim term —
                                          – whether the term may encompass a

 feature —                                                 Id. 7 The Court should
         – that dispute is properly resolved here and now. Id.'

 address the dispute and resolve it in WAC's
                                       WAC’s favor.

          B.     “sealing between the dimming control and the driver housing”
                 "sealing                                            housing"

     WAC’s Proposed Construction
     WAC's                                      CAST’s Proposed Construction
                                                CAST's

     resisting the passage of dirt and water    resists the passage of dirt and water
     beyond the circular seal positioned        between the dimming control and the
     between the dimming control and the        driver housing during normal operation
     driver housing                             of the LED lighting device

          The primary dispute between the parties with respect to the term, "sealing
                                                                            “sealing

 between the dimming control and the driver housing,"
                                            housing,” is whether the term should

                                         (WAC’s position) or appended with
 be given its plain and ordinary meaning (WAC's

 language that preemptively addresses extreme environmental conditions not at


 7
   The dispute here is closely analogous to the facts in O2  02 Micro. There, the claim
 required a circuit to control certain switches "only
                                                   “only if said feedback signal is above
 a predetermined threshold (the ‘only     if’ limitation)."
                                    'only if' limitation).” O2
                                                             02 Micro, 521 F.3d at 1356.
                                  “only if'
 The parties disputed whether "only     if” allowed for exceptions. Id. at 1357. The
 district court ruled that the term "needs
                                     “needs no construction”
                                                 construction" because it has "a“a well-
              definition.” Id. The Federal Circuit reversed that decision, holding
 understood definition."
 “[t]his dispute over the scope of the asserted claims is a question of law,”
 "[t]his                                                                    law," and
 further explaining that "the
                          “the district court failed to resolve the parties'
                                                                     parties’ dispute
 because the parties disputed not the meaning of the words themselves, but the
 scope that should be encompassed by this claim language.”
                                                       language." Id. at 1361. By failing
 to construe the meaning of the disputed term, the district court in O2  02 Micro let the
 parties present the legal claim construction arguments to the jury, which was a
 legal error. Id. at 1362. The Federal Circuit remanded for the lower court to
 construe the scope of the disputed term. Id. at 1362-3.

                                               16
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 17 of 32 PageID: 949




 issue in this case (CAST's
                    (CAST’s position). The parties agree that "sealing"
                                                              “sealing” means

                                                                        dirt. 8 They
 resisting (rather than absolutely preventing) the passage of water and dirt.'

 further agree that a person of ordinary skill would bring that understanding to the

 claim. Yet CAST advocates appending the term with redundant and confusing

          (“during normal operation of the LED lighting device")
 language ("during                                      device”) that poorly

 captures the idea they admit that everyone understands.

       We begin with the claim language. ‘101
                                         '101 Patent at 50:15-52:43; Phillips, 415

 F.3d at 1314. The term "sealing
                        “sealing between . . ."
                                             .” appears twice in the claims, in

 claims 1 and 11. The full text of the claim element is as follows:

              a dimming control including a shaft, said shaft extending
              through the hole in the center of said circular seal and
              said dimming control opening in the wall of the driver
              housing and being in physical contact with the rotatable
              control of the resistor component, said circular seal
              sealing between the dimming control and the driver
              housing;

 Id. at 50:27-33 (claim 1) (emphasis added). See id. at 51:25-31 (claim 11) (same).

 The claim sets forth, in relevant part, a general topological relationship among the

 circular seal, the dimming control, and the driver housing. As important, it

 identifies through the verb "sealing"
                             “sealing” the function the circular seal must perform:

 resisting the passage of things beyond itself ("said
                                               (“said circular seal sealing").
                                                                    sealing”).



 88 WAC proposes adopting the same gerund form (resisting) as the claim term.
 While this would be tidier grammatically than CAST’s               (“resists”), the
                                                  CAST's proposal ("resists"),
  parties’ proposals are not substantively different on this point.
 parties'
                                           17
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 18 of 32 PageID: 950




       The specification then clarifies, and the parties agree, that the seal is sealing

                         “While the embodiments describe the sealing of the system
 against dirt and water. "While

 to prevent the intrusion of water, they also prevent in some embodiments the

 intrusion of dirt and/or other liquids. This is accomplished . . . through the use of

 several layers of seals which in some embodiments include gaskets and 0-rings
                                                                       O-rings

 and potting in order to seal the LED light base assembly from water intrusion.”
                                                                     intrusion." Id.

 at 19:55-62. In this instance, the sealing occurs at the circular seal; it blocks

 passage of water and dirt so that they may not reach inner electrical components

 (e.g. driver assembly). Id.; see Figs. 1, 3, 6B, and 35.

       WAC’s proposed construction unpacks the claim language, clarifying that
       WAC's

 the claim requires the resistance to the dirt and water to occur at the circular seal,

 which provides a coherent explanation for the fact-finder. See Sport Dimension,

 Inc. v. Coleman Co., 820 F.3d 1316, 1320 (Fed. Cir. 2016) ("A
                                                           (“A district court may

 use claim construction to help guide the fact finder through issues that bear on

 claim scope.").
       scope.”).

       CAST, by contrast, insists on doing more: adding the phrase, "during
                                                                    “during normal

 operation of the LED lighting device."
                               device.” This is unnecessary and unhelpful. Terms

 are to be construed from the perspective of a person of ordinary skill in the art

 (“POSITA”). See, e.g., Phillips, 415 F.3d at 1313. POSITAs bring with them "an
 ("POSITA").                                                                “an

 understanding of [a term's]
                     term’s] meaning in the field.”
                                            field." Id. (internal quotations and


                                           18
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 19 of 32 PageID: 951




 citations omitted). A term's
                       term’s ordinary "meaning
                                       “meaning in the field”
                                                       field" would contemplate

 normal operation. Id. Further, the parties both acknowledge that a POSITA would

            “sealing” to require only substantial resistance, not absolute water
 understand "sealing"

 tightness under extreme conditions. In its PGR Petition, CAST has admitted that

 “[a] POSITA would understand [the term] not in absolutes, but in relation to the
 "[a]

 environmental conditions associated with intended uses of the claimed lighting

 fixtures,”
 fixtures," and has therefore proposed no particular claim construction. Ex. 3

 (CAST PGR Petition) at 25. The Court should credit CAST's
                                                    CAST’s position in the PGR

                              here.9
               WAC’s position here.'
 in support of WAC's

       CAST’s "during
       CAST's “during normal operation"
                             operation” proposal therefore makes little sense.

       CAST’s rationale, the term would require the addition of any number of
 Under CAST's

 generic-but-unhelpful phrases: "“ . . . while on earth,” “. . . under normal gravity
                                                  earth," ".

 condition;”                            nighttime.”10 CAST’s
 condition;" "“ . . . during daytime or nighttime."1° CAST's current proposal adds




 99 The Court may note that CAST filed its PGR petition (declining to construe the
 term precisely because a POSITA would understand the term) just one day after
  filing the L. Pat. R. 4.3 pleading in this case (asking for the "under
                                                                  “under normal
  conditions”
  conditions" construction because a POSITA otherwise would not understand the
 term). Compare ECF 35 (L. Pat. R. 4.3 Joint Statement) (filed on Nov. 23, 2020)
 with Ex. 3 at 108 (filed on Nov. 25, 2020). The inconsistency is striking.
 10
 1° Further, these phrases should be added to any number of terms. Take, for
 example, "circular
           “circular seal."
                     seal.” Under CAST’s
                                    CAST's rationale, the parties should clarify the
 claimed seal is only circular in shape "under
                                        “under normal operation,”
                                                       operation," presumably to
 make clear that even though the seal could be deformed under extreme
 circumstances (e.g., if the fixture were crushed by a hydraulic press) that does not
                                           19
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 20 of 32 PageID: 952




 precisely such surplusage, a limitation already understood by a POSITA and

 agreed by the parties. Moreover, this inherently ambiguous surplusage may

 confuse the fact-finder, upending the entire purpose of construing this term. While

 a POSITA may understand the bounds of "normal
                                       “normal operation”
                                               operation" in the context of the

 ‘101
 `101 Patent, a lay person (i.e. a juror) may not. The Court should reject this

 unnecessary annotation and adopt WAC's
                                  WAC’s construction instead.

       C.      “provides a water tight seal"
               "provides               seal”

  WAC’s Proposed Construction
  WAC's                                       CAST’s Proposed Construction
                                              CAST's
  prevents the passage of water               prevents the passage of water during
                                              normal operation of the LED lighting
                                              device

       The parties'
           parties’ dispute concerning the term, "prevents
                                                 “prevents the passage of water,"
                                                                          water,” is

 the same as for the "sealing
                     “sealing between"
                              between” limitation addressed above, that is, whether

 to insert an unnecessary and inherently ambiguous "during
                                                   “during normal operation of the

 LED lighting device"
              device” limitation into the claims (CAST's
                                                 (CAST’s position) or not (WAC's
                                                                          (WAC’s

 position). WAC therefore incorporates here its argument above. The Court should

       WAC’s proposed construction.
 adopt WAC's

       D.     “insulating layer of insulating material”
              "insulating                     material"

  WAC’s Proposed Construction
  WAC's                                       CAST’s Proposed Construction
                                              CAST's
  a single thickness of material that         a thickness of material that provides
  provides heat, electricity or water         heat insulation
  insulation


 cause the seal to fall outside the scope of the claims. That is, of course, true, but it
 needs no clarification.
                                            20
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 21 of 32 PageID: 953




                                                                         “insulating
       The primary dispute between the parties with respect to the term, "insulating

 layer of insulating material,"
                     material,” is whether the term should encompass the full range

 of insulation types taught by the intrinsic record —
                                                    – i.e., against heat, water, or

 electricity (WAC's
             (WAC’s position) —
                              – or be limited to only one type of insulation, heat,

 cherry-picked from one part of the specification (CAST's
                                                  (CAST’s position).

       We begin with the claim language. ‘101
                                         '101 Patent at 50:15-52:43. The term,

 “insulating layer of insulating material,"
 "insulating                     material,” appears in claims 1 and 11. Id. at 50:42-

 45, 51:40-42. The only accompanying limitation recited in those claims is

 positional; the layer must be positioned between two things (bottom surface and

 driver assembly). The claims do not define or limit the relevant types of

 “insulating” (i.e., whether the layer is insulating the electronic components from a
 "insulating"

 potentially-electrically-conductive bottom surface, keeping out moisture, or

 providing thermal insulation). Id. Further, the claim language generally concerns

 electrical matters (driver, resistor, dimming, wire) and moisture control (circular

 seal, sealing, water tight), suggesting the insulating layer plays some role in at least

 electrical and/or moisture management. The term also appears in dependent claims

 2 and 12. See id. at 50:48-52, 52:8-10. Neither purports to limit the term.

       The specification is similarly broad in its treatment of insulating layers.

 Consistent with the stated Background (id. at 1:27-55) and Summary (id. at 1:59-

 2:46), several portions of the specification refer to a number and variety of seals,

                                            21
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 22 of 32 PageID: 954




 sealing mechanisms, and protective layers to protect interior electronics,

 “accomplished . . . through the use of several layers of seals which in some
 "accomplished

 embodiments include gaskets and O-rings
                                 0-rings and potting in order to seal the LED

 light base assembly from water intrusion.").
                                intrusion.”). Id. at 19:55-55:64 (emphasis added).

                                                silicone11 "potting"
       One such disclosed protective layer is a siliconell “potting” material that

 coats the electronics of the driver assembly to insulate it from intrusion of water.

 Specifically, the "silicone
                   “silicone material . . . acts as a potting material for the driver

 assembly and . . . stabilizes, secures and waterproofs the driver

 assembly 554 within the cavity of the driver housing 540.”
                                                      540." Id. at 25:55-62; see id.

                               “waterproofing of said driver assembly");
 at 27:39-49 (potting provides "waterproofing                assembly”); 33:59-34:3

          “provides a water tight seal").
 (potting "provides               seal”). Because the specification teaches of

                   “driver assembly"
 waterproofing the "driver assembly” with potting, it follows that in those

 embodiments the potting fully encapsulates the driver assembly. See id.; see also

 id. at 33:59-34:3 ("the
                   (“the driver assembly 2336 being potted, e.g., set into, the glue to

                       seal”) (emphasis added). Further, that is the nature of
 provide a water tight seal")




 11
 11 Silicone is a polymer commonly used for thermal, electrical, and water
 insulation. See, e.g., Ex. 4 ("Silicones
                              (“Silicones are used in . . . thermal and electrical
 insulation.”; "Silicone
 insulation."; “Silicone can be used as a basic sealant against water and air
 penetration.”).
 penetration.").

                                            22
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 23 of 32 PageID: 955




 “potting.”"12
 "potting.  12



        This potting of the driver assembly, "within
                                             “within the cavity,”
                                                         cavity," id. at 25:62,

 provides electrical insulation as well by preventing water to interfere with the

 electronics. Electrical "wires"
                         “wires” are protected from moisture, id. at 33:63-66, and

 “silicone glue seals the electrical connector 2344,"
 "silicone                                     2344,” id. at 34:27-28. Cf. id. at 25:55-

    (“one or more water tight seals which protect some of the electronics”).
 62 ("one                                                     electronics").

        In addition to teaching that a layer of insulating material (e.g., silicone) may

 insulate against water and electricity, the specification also discloses another type

 of an insulating layer: a film directed to heat insulation. Specifically, the

 specification identifies an embodiment in which "insulation
                                                 “insulation film 552 provides heat

 insulation for the driver."
                    driver.” Id. at 24:39-49. This layer is itself made of an insulating

                           (“The insulating film 552 in some embodiments is made
 material. Id. at 24:41-42 ("The

 of VO rated plastic").
             plastic”).

        In sum, the specification teaches at least two different insulating layers

 providing at least three different types of insulation: protection of various

 components (usually but not always the driver assembly) from unwanted heat,

 water, and electricity. Neither the claims nor the specification discount or disclaim

 any of these types of insulation.


 12
 12See Ex. 5; see also Ex. 6 (Wiley Dictionary) ("Potting:
                                                (“Potting: The process of
 embedding, encasing, or immersing a circuit in a material to protect it from its
 surrounding environment.”).
              environment.").
                                           23
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 24 of 32 PageID: 956




       WAC’s construction is also consistent with and supported by dictionaries
       WAC's

 and the plain English meaning of these terms. The term "layer"
                                                        “layer” is defined as "a
                                                                              “a

 single thickness of a material covering a surface or forming an overlying part or

 segment”). Ex. 7 (American Heritage Dictionary) ("Layer:
 segment").                                      (“Layer: ... 2. a.").
                                                                 a.”). CAST does

 not appear to dispute this portion of the construction. See Dkt. No. 35, Ex. A at 11,

 14.13 The common definition of insulation —
 14.13                                     – absent any modifier (of which there is

 none in the claims) —
                     – likewise includes the impediment of heat, electricity, sound,

 and the like. See, e.g., Ex. 8 (American Heritage® Dictionary of the English

 Language, Fifth Edition (2016) ("Insulate:
                                (“Insulate: To prevent the passage of heat,

 electricity, or sound into or out of, especially by surrounding or covering with a

               material”). To insulate is to prevent, impede; the term is not
 nonconducting material").

 limited on its face to a particular type or thing impeded. The claims cover the full

 range of insulation types, not merely one species.

       CAST’s position is that the scope of the term "insulating
       CAST's                                        “insulating layer"
                                                                 layer” should

 nonetheless be limited to just one type of insulation, associated with insulating film

 552, in one embodiment. ECF 35 (L. Pat. R. 4.3 Statement) at Ex. A at 10 ("heat
                                                                          (“heat

 insulation”). CAST's
 insulation"). CAST’s proposed construction is a textbook example of reading a



 13
 13                             “single” to connote the unitary nature of a layer, but
   WAC includes the modifier "single"
 the same concept is implied by the use of the article "an"
                                                       “an” and the singular
 “thickness” in CAST's
 "thickness"    CAST’s proposed construction and the singular "said
                                                                 “said insulating
 layer” elsewhere in the claims.
 layer"

                                          24
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 25 of 32 PageID: 957




 limitation from an embodiment into the claim. This is categorically prohibited. "A
                                                                                 “A

 court may not read into a claim a limitation from a preferred embodiment, if that

 limitation is not present in the claim itself.” Bayer AG v. Biovail Corp., 279 F.3d
                                        itself. "Bayer

 1340, 1348 (Fed. Cir. 2002); Phillips, 415 F.3d at 1320 ("one
                                                         (“one of the cardinal sins

 of patent law — reading a limitation from the written description into the claims”);
                                                                            claims");

 Innova/Pure Water,
             Water, Inc. v. Safari Water
                                   Water Filtration Sys., 381 F.3d 1111, 1117 (Fed.

 Cir. 2004) ("particular
            (“particular embodiments appearing in the written description will not

 be used to limit claim language that has broader effect.”).
                                                  effect.").

       Even if CAST were permitted to restrict claim terms to perceived limits

 found in one embodiment (it is not), CAST's
                                      CAST’s attempt fails because the claim term

 “insulating layer"
 "insulating layer” is different from the specification's
                                          specification’s term, "insulating
                                                                “insulating film.”
                                                                            film." The

 latter was the subject of a separate patent. See, e.g., Ex. 9 (`832
                                                               (‘832 Patent) at Claims.

 Here, WAC sought and obtained claims concerning "layer,"
                                                 “layer,” a different term with a

           scope.14 Distinct terms are presumed to have distinct meanings. See, e.g.,
 different scope.'




 14
 14In fact, during the prosecution of the ‘101
                                           '101 Patent, in the Reasons for Allowance,
 the examiner identified by mistake the term, "insulating
                                                “insulating film,”
                                                             film," as a distinguishing
 feature of the claims over the prior art. See Ex. 10 (Reasons for Allowance). The
 patentee promptly flagged the error, and the Examiner advised the patentee that the
 record can be clarified by a submission of "Comments"
                                              “Comments” on the Reasons for
 Allowance. See Ex. 11 (Nov. 19, 2019 Interview Summary). The patentee did so,
 making the record clear that the scope of the claims "should
                                                        “should not be interpreted to
 include (or be limited to) any terms [such as "insulating
                                                “insulating film”]
                                                             film"] other than the terms
 expressly recited in the claims.”
                          claims." See Ex. 12 (Jan. 9, 2020 Comments).

                                           25
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 26 of 32 PageID: 958




 SimpleAir, Inc. v. Sony Ericsson Mobile Commc’ns
                                         Commc'ns AB, 820 F.3d 419, 431 (Fed.

 Cir. 2016).

       The Court should adopt WAC's
                              WAC’s proposed construction because it is true to

 the intrinsic record and consistent with the law.

       E.      "“connected”
                 connected"

  WAC’s Proposed Construction
  WAC's                                       CAST’s Proposed Construction
                                              CAST's
  connected physically                        connected electrically

                                   “connected” refers to a physical connection
       The parties dispute whether "connected"

 (WAC’s position) or merely an electrical connection (CAST's
 (WAC's                                                      position).15 That is,
                                                     (CAST’s position)."

 the parties dispute whether the Court should preserve the distinction between

 “connected [physically]"
 "connected [physically]” and "coupled
                              “coupled [electrically]"
                                       [electrically]” (WAC's
                                                       (WAC’s position) or erase

 the distinction in the claims (CAST's
                               (CAST’s position) by ignoring the claim text and

 specification.

       We start with the claim language. The term "connected"
                                                  “connected” appears in claim 2

 and again in claim 12, both times as part of the same limitation:

               said first wire being connected to said first side of the
               LED driver circuit board

 ‘101
 `101 Patent at 50:50-51; 52:10-11. In both cases, "connected"
                                                   “connected” describes the

 relationship of two components: a wire and a circuit board. See id. Both

 components are described in terms of their physical existence (rather than their


 15
 15
    Neither party contends the word "connected"
                                    “connected” itself requires further explanation.
                                            26
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 27 of 32 PageID: 959




 function or operation); they can be manipulated and arranged. There is no mention

 of which voltage or current is sent, what signal is processed, etc. "Connected"
                                                                     “Connected” thus

 connotes physical manipulation, not circuit function. Further, Claims 2 and 12

 specify where the first wire lands: on the "first
                                            “first side"
                                                   side” of the circuit board. Id. at

 50:50-51; 52:10-11. The "first
                         “first side"
                                side” is a physical location on the board. If the

 location is defined in physical terms, so too the connection is located in physical

 terms.

              patentee’s use of "connected
          The patentee's        “connected [physically]"
                                           [physically]” in claims 2 and 12 also

 comports with general rules of claim drafting. Claim 1 requires that the driver

                    “coupled” to the LED light source; that is, the driver supplies
 assembly merely be "coupled"

 electricity to the LED but the route of that delivery is left variable, broad. Claims

 2 and 12 narrow the invention to require the electricity flow through a wire placed

 at a particular location, "connected"
                           “connected” to the first side of the board. This is a "further
                                                                                 “further

 limitation” of the wiring described in claim 1. See 35 U.S.C. § 112(d); Phillips,
 limitation"

 415 F.3d at 1314 (other claims can be a "valuable
                                         “valuable sources of enlightenment as to

 the meaning of a claim term.");
                        term.”); Intamin Ltd. v. Magnetar Techs., Corp., 483 F.3d

 1328, 1335 (Fed. Cir. 2007) ("An
                             (“An independent claim impliedly embraces more

 subject matter than its narrower dependent claim.”).
                                            claim.").

          Moreover, claim construction convention dictates that "coupled"
                                                                “coupled” and

 “connected” in the claims have distinct meanings. The presumption is that two
 "connected"


                                            27
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 28 of 32 PageID: 960




 claim terms cannot fully overlap. See, e.g., Bd. of
                                                  of Regents of
                                                             of the Univ. of
                                                                          of Tex. Sys.

 v. BENQ Am. Corp., 533 F.3d 1362, 1371 (Fed.Cir.2008); Randall May Int'l,
                                                                    Int’l, Inc.

 v. DEG Music Prods, Inc., 378 F. App'x
                                  App’x 989, 998 (Fed. Cir. 2010) (a claim term

 “must be considered meaningful");
 "must               meaningful”); see also Cablestrand Corp. v. Wallshein,
                                                                 Wallshein, 29

 F.3d 644 (Fed. Cir. 1994). The parties here already agreed on the broad meaning

 of "coupled
    “coupled [electrically]."
             [electrically].” ECF 35 (L. Pat. R. 4.3 Joint Statement), at 2.

 “Connected” therefore must be presumed not to have the same scope as "coupled."
 "Connected"                                                          “coupled.”

 WAC’s proposed construction honors this principle: while "coupled"
 WAC's                                                    “coupled” describes an

 electrical relationship, "connected"
                          “connected” refers to a physical relationship. The two

 different terms have two distinct meanings.

       The specification also uses "connected"
                                   “connected” to refer to a physical connection.

 The wire shown to be the claimed "first
                                  “first wire"
                                         wire” is described as "connected
                                                               “connected on one

 end to the LED driver circuit ... [and] connected on other end[sic] to the light

 source of the fixture which is an LED.”
                                   LED." Id. at 19:46-49 (emphasis added). The

               “ends” of the wire, and what component sits at each "end,"
 references to "ends"                                              “end,” further

 illustrates the physical delineation of the connection. Id. As in the claims, the

 term "connected"
      “connected” is often used in tandem with other physical features. See, e.g.,

 id. at 10:41 ("through
              (“through which wires pass and are connected”),
                                                 connected"), id. at 11:54-55 ("The
                                                                              (“The

 LED light source is connected to wires [] which extend through an opening in the

 bottom portion of the fixture main body").
                                    body”). The specification is referring to the


                                          28
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 29 of 32 PageID: 961




 physical passage/placement/location of the wires.

       Other uses of "connected"
                     “connected” in the specification underscore the point. The

                             “tilting mechanism"
 specification describes the "tilting mechanism” as being "connected"
                                                          “connected” to the main

 body of the fixture. Id. at 20:13-16. Similarly, the driver housing is described as

 “connected” to the dimmer control knob as well as the tilting mechanism. Id. at
 "connected"

 20:59-61. The specification goes on to describe the "LED
                                                     “LED flood light assembly"
                                                                      assembly” as

 “connected” to the tilting mechanism; the connection is physical. Id. at 29:5-9. In
 "connected"

 each instance, the components are tangible/mechanical, the described connection is

 physical, not electrical.

       CAST’s argument to the contrary is at odds with the weight of the intrinsic
       CAST's

 record and invites legal error. CAST urges the Court to construe both "connected"
                                                                       “connected”

     “coupled” so that an electrical connection by itself satisfies both limitations.
 and "coupled"

 Reading the claims to erase the distinction between two separate terms is broadly

                     of Regents of
 disfavored. See Bd. of         of the Univ. of
                                             of Tex. Sys., 533 F.3d at 1371. The

 specification also indicates that the two terms are understood to have different

 meanings. Id. at 29:61-64 (describing wires 578 as either "connected
                                                           “connected or coupled to

 the LED light source.")
               source.”) (emphasis added).

         More problematic, construing "connected"
                                      “connected” as requiring only an electrical

 connection would effectively read out the "first
                                           “first side"
                                                  side” limitation in claims 2 and 12.

    “connected” can be satisfied by mere electrical communion, then it is irrelevant
 If "connected"


                                           29
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 30 of 32 PageID: 962




 to which side of the circuit board the wire is connected —
                                                          – the wire would be

 “connected [electrically]"
 "connected [electrically]” to the circuit board either way. CAST’s
                                                             CAST's reading of

 “connected” would render "first
 "connected"              “first side"
                                 side” in claims 2 and 12 meaningless, providing

 locational detail for a term that (CAST argues) has no locational meaning. This is

                                       App’x at 998 ("[t]he
 legally improper. See Randall, 378 F. App'x        (“[t]he district court’s
                                                                     court's elision

 of the claim limitation …
                         ... is legal error”).
                                      error").

       Furthermore, CAST has quietly conceded this very point in its PGR petition.

 There, in discussing its primary prior art reference (the "BL9"
                                                           “BL9” product), CAST

                     “does not meet [the ‘connected’]
 admits that the BL9 "does                            limitations” and "the
                                         'connected] limitations"      “the driver

 wires of the BL9 are connected to the second side of the circuit board, not the first

 side.” Ex. 3 at 44, 55. Electricity flows on both sides of the circuit board of the
 side."

 BL9’s driver, evidenced by there being electrical components on both sides of the
 BL9's

 circuit board. Under CAST’s
                      CAST's proposed construction here ("connected
                                                        (“connected

 electrically”)
 electrically") the physical location of the wires should not matter: the first wire

 would be electrically connected to the circuit board either way. Yet, CAST admits

 that the physical placement of the wires means that the BL9 does not meet that

 limitation in claims 2 and 12, i.e., that it is the physical
                                                     physical connection that matters.

       The Court should adopt WAC's
                              WAC’s proposed construction of "connected
                                                             “connected

 physically.”
 physically."




                                             30
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 31 of 32 PageID: 963




       F.    "“covers”
               covers"

  WAC’s Proposed Construction
  WAC's                                     CAST’s Proposed Construction
                                            CAST's
  extends over                              extends over

       Since filing their L. Pat. R. 4.3 Joint Statement, the parties have resolved

 their dispute concerning the construction of "covers."
                                              “covers.” Both parties agree that the

 term should be construed to mean "extends
                                  “extends over.”
                                           over."



  Dated:      December 21, 2020           Respectfully submitted,

                                           s/ Jason B. Lattimore
                                          Jason B. Lattimore
                                          The Law Office Of
                                          JASON B. LATTIMORE, ESQ. LLC
                                          55 Madison Avenue, Suite 400
                                          Morristown, NJ 07960
                                          Telephone: (973) 998-7477
                                          Facsimile: (973) 264-1159
                                          Jason@LattimoreLaw.com

                                          Timothy R. Shannon (pro hac vice)
                                          Seth S. Coburn (pro hac vice)
                                          VERRILL DANA LLP
                                          One Portland Square
                                          Portland, Maine 04112-0586
                                          (207) 774-4000
                                          tshannon@verrilldana.com
                                          scoburn@verrilldana.com

                                                    for Plaintiff
                                          Attorneysfor  Plaintiff
                                          Wangs
                                          Wangs Alliance Corporation




                                          31
Case 2:20-cv-03710-MCA-MAH Document 43 Filed 01/07/21 Page 32 of 32 PageID: 964




                              CERTIFICATE OF SERVICE

               I hereby certify that I caused a copy of this document to be filed in

                     Court’s procedures through the CM/ECF system, to be sent
 accordance with the Court's

 electronically to the registered participants, and paper copies to be sent to those

 indicated as nonregistered participants.



 Dated: December 21, 2020                             s/ Jason B. Lattimore
                                                     Jason B. Lattimore




                                              32
 14481534_12
